
In re Travelers Casualty &amp; Sty. Co., n/k/a; Aetna Casualty &amp; Surety Co.; Equitable Shipyard, n/k/a; Trinity Marine Group, Inc.;—Defendant(s); applying for writ of cer-tiorari and/or review; Parish of Jefferson, 24th Judicial District Court, Div. “J”, Nos. 424-010, 433-992, 444-648, 456-354, 460-201; to the Court of Appeal, Fifth Circuit, Nos. 97-CA-0932, 97-CA-0933, 97-CA-0934, 97-CA-0935, 97-CA-0936.
Denied.
LEMMON, J., not on panel.
